     Exhibit 10

    United States District Court, District of Maryland
    Carrasco v. M&T Bank
    Case No.: 1:21-cv-00532




      Summary
      ▪ M&T Bank Visa Credit Card Agreement, original.
          – Notes for consideration: the agreement is dated “11/19” which suggests that the credit agreement is an
            outdated version of the current streamlined agreement used by the Defendant on credit cards of this
            nature. As evidenced in the complaint, M&T was unable to produce this document upon multiple
            requests to senior level officers which demonstrates the negligence in maintaining internal records for
            credit accounts opened. M&T responded to a complaint filed with the CFPB on 2/5/2021 with a
            different version of the credit agreement as an enclosure, which was dated 5/1/2020. As plaintiff
            opened the account on 7/17/2020, it is unclear why M&T sent a stale version of the credit agreement to
            Plaintiff when they sent the physical card in the mail. Plaintiff argues that based on these
            inconsistencies in documents, M&T does not have an adequate record-keeping system in place to
            ensure that new customers receive the most up to date version of the credit agreement. As stated in the
            original complaint, M&T never produced documentation upon request, and it seems reasonably clear
            based on the evidence that the disinterested observer, specifically this court, could draw the conclusion
            that M&T does not have a proper system which complies with various consumer credit legal
            obligations which are set forth in the Truth in Lending Act.




Official Evidence Filed by Plaintiff – Original copies are available for inspection upon request during trial or other pre-trial conferences.

Submitted: 3/23/2021
   ·M&.T Bank Visa®
    Credit Card
    Agreement



THIS AGREEMENT INCLUDES AN ARBITRATION
PROVISION. YOU MAY REJECT THE ARBITRA-
TION PROVISION IN ACCORDANCE WITH THE
TERMS OF THE "ARBITRATION" SECTION BELOW.
This Agreement governs the use of Your M&T Visa®
Credit Card, M&T Visa® Credit Card with Rewards,
M&T Visa® Signature Credit Card, or M&T Secured
Credit Card account with M&T Bank, and together with
the Application, Disclosures and Terms, and any other
documents We provide in connection with the Account
is the collective agreement that applies to all transactions
on Your Account. This Agreement is the final expression
of the terms and conditions of Your Credit Card Account
with Us, and it supersedes any alleged oral or inconsis-
tent provisions of any prior agreement. If any part of the
Agreement conflicts with applicable law or is determined
by a court to be invalid, this Agreement will be consid-
ered changed to the extent necessary to comply with the
law or court decision and the remainder of the Agreement
will remain in effect. By applying for an Account, or us-
ing a Card, You agree that We may provide Your personal
data to VISA U.S.A., its members or their agents for,
among other things, the purpose of providing emergency
cash, emergency credit card replacement services, or as
required by the Visa rules and regulations ("Visa Rules").
Please read this Agreement in its entirety and keep it for
Your records.


                         M&TBank
    05660-31-12
 Definitions
 In this Agreement, "We" "Us" and "Our" mean M&T Bank, its succe
 issuer of the Card(s) and Your Account creditor. "You" and "Your" mssors and assign 5
signs an application for, or otl1erwise requests, a credit card account      ~ac~ person ' t~e0
 means Your Credit Card account with Us to which the Card(s) are linked .~· 'Accoun;
Credit Card linked to the Account that We have issued to You and includ · Card" rnean
other access device, such as account numbers, We issue to You or Check es each   0 credit cs ~ach
the Account. "Checks" mean promotional cash advance or bal~nce trans1 m \ nnection ~r.'th
nience checks We may provide You from time to time. "Agreement'' met c :cks and c:
the "~isclosures and Terms'.' that_are provided with Your Card, And any o~e~hJ5 Agreerne~t
proVJded to You m cormect1on with the Account, that together comprise y, "ocurnents '
"Purchase(s)" means a purchase of goods and/or services from participat;ur Agreernenl'
accept VISA cards. "Transaction" means any amount of credit obtained un3e~erchants who
for Purchases, Advances, Balance Transfers, Checks and overdrafts. "Outsta J:;ur Account
means the total dollar amount of Your obligation under this Agreement for all T gBalance"
interest, finance charges, fees, and any other costs. "Advances" is defined in th ran~actions,
tioned Use of the Account. "Credit Limit" is defined in the section captioned resedclion
                                                                                    it Lunit
                                                                                          cap-
Effective Date:                                                                        ·
This Agreement becomes effective as soon as You activate the Card or the Acco t E .
Card or Account has not been used or activated, this Agreement becomes effect · ~en if the
contact Us within 30 days after You receive the Card by calling the number on ~:etkessYou
Card to cancel Your Account.                                                      ac of the
Responsibility
By a~p_lying for or using the Card, You accept, agree to, and are bound by these terms and
cond1t10ns. You promise to do everythmg this Agreement requires of You, and You pr .
to pay all amounts due on Your Account. Your obligation to pay the Outstanding Bala~mise
continues even thoug? an agreement, divorce decree or other court judgment to which ~e
are not a party may direct You or one of the other persons responsible to pay the account 'iJ
agree to pay each and all of the interest, fees and charges described in this Agreement. · ou

Authorized User
If You or Your Joint Account holder lets some~ne else use the Account ('i\uthorized User"),
You and any Jomt Account holder are responsible for all Transactions made by thatJerson,
whether or not You have notified Us that the person will be using Your Account an whether
or not the amount of the actual use exceeds Your permission or was made for Your benefit.
An Authorized User will not be responsible for paying the balances due on Your Account.
You agree not to allow access to the Account to anyone who is not an Authorized User. You
are responsible for any Account transactions made by You or anyone whom You are deemed
to have authorized by (a) lending Your Card to, or allowing Account access by another person;
or (b) any other way in which You would be legally considered to have allowed another person
to use Your Account or to be legally prevented from denying that You did so. You cannot
disclainl responsibility for these charges by notifying Us, but if You write Us at the address or
call Us at the telephone number shown on Your billing statement and return all Cards and
Checks to Us, We will close Your Account for new Transactions.
Use of the Account
You must sign the Card immediately upon its receipt. If You do not sign the Card, You will
still be obligated to pay any and all amounts incurred on the Account. The Card may only be
used during its validity period, which is printed on the Card.
You may use the Card to make Purchases. You may obtain cash advances from Us and from
other financial institutions that accept VISA Cards, as well as from automated teller machines
(ATMs) that accept VISA Cards (but not all ATMs accept VISA Card_s.) (?dvances"). ToN
obtain cash advances from an ATM, You must use the Personal Identificatton Number (Pl )
that is issued to You.
With the exception of M&T Secured Credit Card Accounts, You may use Checks issued_by
Us to access Your Accoun~ subject to any terms communicated to You with the Checks Ill
addition to the terms of this Agreement. When You or a Cardholder sign(s) a Check,J~~ck
or Cardhoider request(s) a cash Advance from the Account. We may refuse to pay a ewill
for any reason. At Your risk and upon Your request or the request of a Cardhoider, Wan
                                                                                     th
accept a stop payment request on a Check. You or a Cardholder must provide Us wi hY,
information We may require. Astop payment request becomes effective only aftertWe a;e
had a reasonable opportunity to act upon it. Our receipt of a stop payment requeS coc~eck
too late 1f: We have indicated in any manner that We will pay or honor the Check; !he_ ( nd
is already in Our processing system; or We do not have a reasonable time to act uponh~ ;heck
You and We agree that the receipt of Your stop payment request on the same day as t est).
is presented to Us does not give Us a reasonable time to act on the stop payment re_qu
                                                                                 t ffectil'f
    Ppayment reque_sts may be made orally or in writing. A stop payment requeS is ~fYou fail
5t0
for 6 months followmg Our receipt and must be renewed either orally or in wnung. dto
to renew a stop payment request before it expires, You will be deemed to have consente
payment of the Check.
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   Q.):Udr@O ProtccUon;
    If You hal'c an M&T Bank lnleresl Checking Account or other M&T Bank Ch k'
   Accounl, You may link the Checking Account (Your Checking Account) 10 ,, cc          tg
   10rol'er ovcrdrnfts on Your Checking Account If you ask to link Your Ch~ur ' ccoun1
   10 Your Accounl, You authorize Us to (I) de•llnk              any overdraft line of~~~coun1
   account which currcn!ly may be serving as an overdraft mechanism and (2) d • 11
                                                                                       1
   on)' 01her account with M&T Bank, which currently may be serving'as an ove ~·~k
   mechanism. If You have requested overdraft protection for Your Checking        A:
  will obtain credit from Your Account, subject lo the Credit Limit and other p~o.u~i, You
                                                                                        1
  of th is Agreement and 1_he terms of Your Checking Account Agreement, by an/~} 1h~s
  following methods: (I) 1fan M&T Bank Check Card or Visa check card is used 1
  a withdrawal or transfer from Your Checking Account, bu! the amount of !he wi~~ake
  or transfer exceeds !he balance available for withdrawal from Your Checking A rawal
                              d v                                                    ccoun1
  We will Ien d lhe excess un er ,our Account, (2) If any other amount is sough! 10 '
  withdrawn from Your Chcckln~ Account (for example, by a check or to pay a service
  charge or other fee charged against Your Checking Account) but exceeds the bal •
  01,ailable for withdrawal from Your Checking Account, We will lend the excess u~~ce~
  Your Account, (3) If at any banklng office of M&T Bank, You cash a check or other ·1
  bu! the check or other Item is not paid by lhe financial institution on which it is wri:lem
  the amounl of the check or other item will be considered to have been lenl under Yo en,
  Account, and (4) if any transfer or other transaclion made or altemp!ed lo be made ur
  by any means results In a transfer or lransaclion in an amount in excess of !he balance
  nvnilablc for withdrawal from Your Checking Account, We will lend the excess under
  Your Account. This paragraph applies regardless of who initiates the transaction that
  nccesses Your Account.
  fi!r M&T Secured Credit Card Accounts Only
  You agree !hal the creation of, and access to, Your Account is conditioned on You pro•
  viding a security deposit in an an1ounl equal lo Your credit limit ("Security Der,osi!"). If
  You do nol already have a savings account with M&T Bank ("Savings Account'), You wiU
  be required lo open an account prior lo !he opening of this Credi! Card Account. You
  agree 1h01 We may hold the Security Deposit in Your Savings Accounl during the term of
  this Agreement, or until We determine that a Security Deposit iS' no longer required. You
 agree 1ha1 I.) You will not have access to the Security Deposil in Your Savings Account,
  2.) You have granted Us a Security Interest in such funds, 3.) You have pledged such funds
 as collateral, and 4.) We will maintain full control of the Security Deposit during the term
 of lhis Agreement.
 We may apply any parl or !he full amount of the Security Deposit to the Outstanding
 Balance owed on Your Account in the event that I.) You default under any of the terms
 of the Agreement, 2.) You close Your Account, 3.) We terminate Your Account for any
 reason, or 4.) the Savings Accounts holding your Security Deposil is no longer in good
 standing. Such application of funds shall no! satisfy any Minimum Monthly Payment
 under !he Agreement. After We apply such funds, any excess funds will remain in Your
 Savings Account, and will no longer be pledged.
 We may, al Our discretion release Our hold on !he Security Deposit, but will nol be
 required lo do so.
 Joint and Several Liability
if more than one owner or co-applicant applies for an Account, You and Your joint Ac·
count holder promise to pay and are jointly and individually responsi_ble _for all amounts
due on the Account. This means that We can require any one of You md1v1dually to repay
the entire amount owed under this Agreement. Each of You authorizes the olher(s) lo
make Purchases, cash Advances, or otherwise access Your Account, individually as well
as for each Cardholder. Anyone of You may terminate the Account and the terminati~n
will be effective as to all of You. You understand and agree that in the event of conflicting
directions, We wiU terminate the Account upon receiving a request b)' an y co•applicant
of the Account.
Our Ri&ht to Cancel Your Account/ How to Cancel Your Account
 We can suspend, cancel or terminate the Account and/or revoke Card(s) at any lime
without prior notice, except as required by law. You or a Cardholder cannot use a Card
or Checks after any such termination or cancelation has occurred. You can cancel 1he
Account by notifying Us. In either case, You and any Cardholder agree to destroy all e
Cards and Checks. Cancellation of the Account will not aflecl Your hab1hty to Us lor 1.h
Outstanding Balance and any oilier cosls related to the Account. You arc also :espoasib1e
for all Transactions made to the Account after terminallon until such 11me as \ou duly
notified Us In accordance with the section below unless the Transactions were fr,iudu·
lent Checks are no longer valid if the Account h'as been suspended or lerminatcd.
Lost or Stolen Cards/ Liabili!J for Unauthorized Use
You mustnotify Us orall)•or in wriling immediatelyof the loss, 1heft, or pussi,ble ,.
unauthom.cd use of the Card or Checks. You arc not !table fo r 11nau1honwl rr,rn
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actions ma Y
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            deb usin the Card after You duly notify us o_f its loss, theft, or suspected
                         allow Us a reasonable amount of hme to act. Under VISA Ru!
unaut~tzed     u;r  h;ve no liability for the unauthorized use of any Card after its loss o~·

a ~~dholde! are grossly ~eglig~ nt ~
You can notify Us by calling I 800
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:uftIVIIf ~;~rfs exception to the VISA "zero liability" operating r~le, sue~ as if You
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8405, Wilmington, DE 19899-8405 .
                 . t U in determining the facts, circumstances and other pertinent infor
You.agree1to.assits s IOss theft or suspected unauthorized use of a Card and Account ·
mahon re atmg o any •                                • ·          1·    ·tho ·
and com I with such procedures as We may reqmre m con.nee ion w1               ur mvestiga-
 . .meIPdY.
uon,      u mg ass1s· 1mg
                       · 1·0 the prosecution of any unauthorized user.
Credit Limit
The Account's "Credit Limit" is the maximum amount ?fTransacti?ns (Purchases, cash


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Advances, Checks, Balance Transfers, overdraft protect10n, promotional cash Advances,
and promotional Balance Transfers), interest, fin3?ce charges: plus any.other charges th,
We allow You to owe 00 Your Account at any time. You will be advised of the Credit
Limit when We issue t e Card(s) connect~d t? the Account. .You shall not allow Your
Outstanding Balance t exceed Your Credit L1m1t. ~owever, if You exceed ~our Credit
Limit, You are still responsible to pay the Outstand1~g Balance to 1/s. Notwithstanding a
higher Credit Limi~ We do not give up any of Our rights. under this Agreemen( and We
can require that You im~ediately pay to Us any amount m excess of Your Credn Umit
We may establish a maximum cash advance ,;imount. th.ai, 1s less than Your Credu Limit.
This cash advance limit is deemed to be the Cash L1m1t .
Each payment You make on the Account wi~l r~st~re the Credit Li'!1it by. the amount of
the payment, unless You are over Your Credit L1m1t. At Our sole d1scret1on, We may wai
to restore Your Credit Limit until We have actually collected the funds You have submit•
ted to Us in payment. If You are over the Credit Li'!1it, .Yo_u must pay the amount. You ar.
over before payments will begin to restore the Credit L1m1t. You may re9uest an mcreast
in the Credit Limit only by a method acceptable to Us that We commumcate to You.
We can increase or decrease the Credit Limit at any time for any reason and We can
refuse to make a Transaction (without prior notice) at any time for any reason not
prohibited by law. We are not responsible for any losses if a Transaction is declined
for any reason, either by Us or someone else, even if You have credit availability. We
may require You to register Your account with an authorization system that We selecl
for online Transactions, and decline Your online Transactions if You do not register.
Interest Char11es and Fees
We calculate interest on the Account using the average daily balance method (including
new Transactions) ''Average Daily Balance''. We calculate interest separately for each
category of Transactions (purchases, Advances, Checks, balance transfers, overdraft
protection, promotional cash advances, and promotional balance transfers). For each
category of Transaction, We calculate a "Balance Subject to Interest Rate'' for the billin!
cycle by adding up the daily balances and dividing that amount by the number of days in
the billing cycle. Interest for each balance is calculated by multiplying the "Daily Period
ic Rate" for each balance times the Balance Subject to Interest Rate for each category and
by the number of days in the billing cycle.
We begin with the balance for each category on the first day of the billing cycle and add
any unpaid periodic interest charge, To get the daily balance for each category, We take
the beginning balance each day, add any periodic interest from the prior day, add any
new transactions and other debits (such as fees), subtract any credits or payments as of
that day and make other adjustments. Acredit balance is considered zero. Then, for eac
catego;Y• We calculate a.B~lance Subject to lnteresl Rate for the billing cycle by adding u1
the daily balances and d1v1dmg that amount by the number of days in the billing cycle.
Except as provi~ed in the seclion headed "Paying Interest;' interest will begin to accrue
on any Transaction on the transaction date, For Checks, the transaction date is the date
the check Is presented to Us for pay111ent.
Your Al'l\s and Daily Periodic Rates may varr (i.e., increase and decrease) with changes
mthe Prime Rate (as defined below), We wil determine Your purchase APR by adding
Your purchase margin to the Prune Rate, We will determine Your cash Advance and
Check Al% by adding a margin of 18.99% to the prime rate, and Your overdraft APR
by adding a margin of I8.99% ( I0.99 for accounts opened prior to 6/5/14) to the Prime
Rate, Your balan~e transfer APR will be cqunl to Your purchase APR aNcr any applicable
promollonal penod expires, To the extent permitted by applicable law, Your APRs arc
not subject lo a 111axlmum limit.
We cnlculale each APR for each monthly hilling cycle by 11dding the appropriate
mnrgln lo the prime rnte published In 1/w W11/I Street /011r1111/ on the lirst business <la
of the previous month, The "Prime ll.ilc'' is lhe highesl U.S. Prime Rate published In 1h,
  5t Rales section, of 7/,c Wn/1 Street /<mnwl. The Prime Rate is not the lowest or 1hc .
~oney
 e Interest ralc available lo u borrower al any parlicular hank al any JWlicular lime - 11
is only a pricing i~~ex. _If The Wall Street Journal stops publishing the Prime Rate, We will
select a similar pncmg mdex rate to calculate Your APRs.
For each billing period, We see what _the Prime Rate w~ ?n the !u'st business day of the
  revious moot~. For exampl~, the Pnme Rate for the billing period beginning March
f  will be the Prllile Rate published on Feb~ary ~. W,e then ~dd the applicable margin
to that Prime Rate to get the APR. Th_e Daily Per_1od1c Rate 1s 11365th of the APR, and
I/366th in a leap year. If Our calru!at10n results 10 a change to a Daily Periodic Rate from
the previous mon~ _becaus~ the Prune _Rate has changed, the new rate will apply as of the
first day of Y?ur b~g penod that b~gms for the curr~nt monthly billing cycle. If the
Daily Periodic Rate mcreases, You will have to pay a higher interest charge and may have
to pay a higher Minimum Monthly Payment.
Paying Interest
Your due date will be at least 25 days after the close of each billing cycle. If a monthly
statement includes new purchases, You may avoid paying interest on those new pur-
chases bl paying the entire new balance reflected on that monthly statement (the "New
Balance for that month) in full by the payment due date for that monthly statement
(the "Payment Due Date" for that month). If We do not receive the entire New Balance
by the Payment Due Date, interest will be charged on the purchases from the date of the
transaction. Interest charges on balance transfers, cash advances, and overdraft advances
begin to accrue on the transaction date and continue to accrue until paid in full, and will
be assessed even if Your entire New Balance is paid by the Payment Due Date.
Penalty Rate

APenalty APR of 24,?9% (Daily Periodic Rate of .06847%) will apply to all balance cat-
egories instead of the mtroductory APR or regular APRs if You fail to pay the Minimum
Monthly Payment within 60 days after its due date. If You promptly remedy the default,
Your Account will return to the regular APRs for each balance after 6 consecutive cycles
in which Your Account is deemed current and is not in default. Otherwise, Your APRs
will remain at 24.99% (Daily Periodic Rate of .06847%) until Your Outstanding Balance
is paid in full. The APR increase will occur regardless of whether We exercise any other
right or remedy permitted under this Agreement or by law for Your default.
Fees and Charges
Late Charges. You must pay a late charge, as described below, if any Minimum Monthly
Payment is overdue.
Late Payment Charge of$25 ($35 if You make a late payment within 6 billing cycles of any
previous late payment). We add the late charge to Your purchase balance.
Returned Check Charges. If You use a payment check to pay any amount owing under
Your Account and the check is not paid, You must pay a returned check charge of $25.
We add the charge to Your purchase balance as of the date of dishonor.
Cash Advance. If You obtain a cash advance, You must pay a cash advance fee of three
percent (3%) qf the value of the cash that is advanced, subject to a $10 minimum fee.
This fee is a FINANCE CHARGE. We add the fee to Your cash advance balance as of the
Transaction date.
Balance Transfer. If You obtain a balance transfer, You m!,lst pay a balance transfer fee of
four percent (4%) of the value of the transferred balance, subject to a $10 minimum fee.
This fee is a FINANCE CHARGE. We add the fee to Your balance transfer balance as of
the Transaction date.
We may decline balance transfer requests under certain circumstances. For example, if
the Account is delinquent or overlimit, We may decline to process a request for balance
transfer. if We do, We will notify You. The balance transfer limit, including all applicable
fees, may not exceed the value of the Account's available credit line. If the total balance
transfer amount You request exceeds the value of the available credit line, You authorize
Us to send either full or partial payment to Your creditors in the order You provide them
to Us.
Acredit card balance transfer can only be used to pay off an existing credit card balance
with another financial institution. It cannot be used to pay off a loan or line of credit or
another debt held by M&T Bank or its affiliates.
Overdraft Transfer. If You have linked Your Checking Account to Your Account, You
must pay a $12.50 transfer fee on each day a transfer to Your Checking Account occurs.
You will only pay one $12.50 transfer fee per day, regardless of the number of transfers
made during that day. This fee is a FINANCE CHARGE. We add the fee to Your over-
draft balance as of the Transaction date.
Unpaid Convenience Check Fee. If We do not pay a Check (because You have asked Us
not to do so or if we have decided not to pay it because You are in default, a Check has
expired, etc.) You must pay an Unpaid Convenience Check Fee of $25.
Foreign Transaction Fee. If You use Your Card for any transaction involving a foreign
currency (not in U.S. dollars), You must pay a Foreign Transaction Fee of three percent
(3%) of the value of the transaction after conversion to U.S. dollars, unless You have the
M&T Visa' Signature Credit Card, on which no Foreign Transaction Fees are charged.
Expedited Card Fee. If You request that We expedite the delivery of a replacement Card,
You must pay an Expedited Card Pee of $25.
Administrative Fees. We may charge You for copies of billing statements, sales drafts or
other records or for special services You request. We will not charge You for copies of
documents You request for a billing dispute You assert against Us under applicable law.
These charges may change from time to time and will be added to Your purchase balance
as of the date of the request.
Fee Limitations. We will not charge You a Late Payment Charge, Returned Check
Charge, or Unpaid Convenience Check Fee that exceeds the amount of the associated
payment/check. For example, if Your Minimum Monthly Payment amount is $20 and
You make a late payment, You will be charged a $20 Late Payment Charge.
Method of Payment
You must pay Us Your Outstanding Balance. You can pay it in full at any time without
any penalty, or You can pay it in installments. You must pay it in United States dollars
drawn on funds on deposit in a United States financial institution or the United States
branch of a foreign financial institution using a payment check, money order or auto-
matic debit payable to our order that will be honored by Your financial institution. By
the date shown on any statement for Your Account, You must pay at least the Minimum
Monthly Payment shown on the statement.
Monthly Minimum Payment
The "Minimum Monthly Payment" is the greater of:
         (a) $15: or
         (b) 2.5% of the Outstanding Balance of Your Account at the end of a
         billing period plus the greater of (i) any amounts over limit or (li)
         any past due amounts.
Your Minimum Monthly Payment will be rounded to the nearest dollar.
Defer a Payment
 In Our sole discretion, We may allow You to defer making the Minimum Monthly
 Payment for certain billing periods. During the deferred-payment period, interest will
 be assessed, but no late fee will be imposed. At the end of the deferred-payment period,
 all terms of this Agreement that would have applied, were it not for the deferred-payment
 feature, will automatically resume without notice.
 Payment Requirements
  We do not accept cash payments through the mail. Mailed payments must be made by
  payment check or money order accompanied by the payment stub attached to the state-
  ment-and must be received by Us at Credit Card Payment Processing, P.O. Box 62014,
  Baltimore, MD 21264-2014. Payments made in person must be made at an M&T Bank
  branch by payment check or money order accompanied by the payment stub attached
  to the statement. Checks must be made payable to M&T Bank. Except to the extent
  required by applicable law, if We accept any payment that does not conform to these
  requirements, the payment need not be posted or considered to have been made until the
, 5th day after the date We receive it.
 Payment Allocation
 We will allocate Your payments in the manner We determine. In most instances, We will
 allocate Your payments up to the Minimum Monthly Payment to balances (including
 Transactions made after the statement) with lower APRs before balances with higher
 APRs. Payments above the Minimum Monthly Payment will be allocated lo balances
 with higher APRs before balances with lower APRs.
 Foreii:n Transactions
 Transactions made in foreign countries and foreign currencies will be billed to You in U.S.
 dollars. The exchange rate for transactions in a foreign currency will be a rate selected by
 VISA from the range of rates available in wholesale currency markets for the applicable
 central processing date, which rate may vary from the rate VISA itself receives, or the gov-
 ernment mandated rate in effect for the applicable central processing date. The exchange
 rate in effect on the central processing date may differ from the rate in effect on either the
 transaction date or the posting date. The exchange rate is subject to change by VISA.
 Amendment of Ai:reement
 To the extent allowed by law, We may change the terms of this Agreement from time
 to time, regardless of whether You have access to Your Account, by adding, deleting, or
 modifying any provision (an ''Amendment"). Once amended, any reference to Your
 "Agreement" will mean the Agreement as modified by the Amendment. Our right to
 add, delete, or modify provisions includes financial terms, such as the APRs and fees,
 and any other terms including, for example, the nature, extent, and enforcement of the
rights nncl obllgntlons You or We muy hnvc rclnllnH lo this Agrccmcnl. Not ice of nny
chnngc will be given In occnrclnncc with npplicnblc lnw, 'fh c A111cnd111cnl will become
effective on the effective dnlc stntcd In the notice, UHc of Your Cu rd ofter receiving notice
of n chnngc will further evidence Your 11 grcelllelll In the chnngc, If pcrmlti ed hy lnw and
unless otherwise specified In the notice 10 You, the chnnge will npply to Ynur Ou11111 ndlng
llnlnnce 1is well ns lo future 1rnnHncllrmH, If You give UHwritt en notice thnt You do not
ngrec to the chnnge, We will 1crJ11lnntc Your Accmrnl ond You will be pcrmlltcd lo pny the
Outslnmllng llnlonce ns oflhe effective dote under the terms of the Agrc~mcnl go.~crnl,ng
Yo11r Account nl the time our nollcc waHgiven. If You UHe Your Cnrcl after the effec tive
dole o(thc Amendment, You will be considered lo have 11grccd to the new lcrmReven If
You have sent Us such written notice,
Rclssnoncc of C11rds
You ngrcc 1hn1 nl ony time for nny rcnson We may rclsHue II Cnrd lo You nnd/or may nHk
You lo return any or nll Cards.
.lli:fuult
Except lo the cxlenl prohibited by oppllcnble law, You will be In defa ult If:
            t) You foll 10 mnke nny p11ymenl when due under this Agreement or lo
               comply with any of1hc other terms of this Agreement In existence now or
               In the future;
            2) You die, file for bankruptcy or become Insolvent;                   .
            3) You make any false or mislead Ing statements In any credit appllcalion or
               credit update, or violate any other provision of this Agreement;
            4) We believe Your ability lo pay what is owed under this Agreement has been
               substantially reduced;                                                . .
            5) You fail lo pay any other lndcb1cdncss owed to Us or our affiliates extslrng
               now or coming into existence In the future by 1hc dale 11 becomes due;
            6) Legal proceedings arc commenced lo take any property belonging lo You
               whether now ex Isling or hereafter acquired; or
            7) Any tax or other involuntary lien is filed or recorded against any property
               belonging lo You now or in the future,
If You are in default, We may declare the Outstanding Balance and any other amounts
You owe 10 be immediately due, prohibit further Transaclions (without prior notice),
cancel the Cards, terminate the Account, and revoke any privileges associated with the
Card or Account. We may increase Your APRs lo the Penalty APR under the circum-
stances described in the section in this Agreement headed "Penalty Rate,"
Collection Costs
If You are in default, to the extent permitted by applicable law, You agree lo pay reason-
able collection expenses that We incur enforcing this Agreement, including court costs
and attorney's fees not exceeding 20% of the amount due and payable under this Agree-
ment if it is referred to an attorney not Our salaried employee for collection.
Communication Regarding Account. Statements and Notices
You authorize Us lo contact You by telephone regarding Your Account. To assure
customer service quality, telephone communications with You may be monitored and
recorded, without further notice. You agree that such telephone calls may be monitored,
recorded and automatically dialed and that a recorded message may be plared. You agree
that such telephone calls are not unsolicited telephone calls for purposes o any slate or
federal law.
All notices required in this Agreement must be in writing. You will send all notices to
Us to the address shown in Your periodic statement, unless We notify You otherwise.
Notices to Us are effective when We receive them and have a reasonable opportunity to
act on them.
Statements and notices, which We can send by regular mail, will be mailed to You at
the most recent address You have given Us, as shown in our records concerning Your
Account. Notice sent to any one of You will be considered notice to all.
Waivers
No change in this Agreement can be made except in writing, signed by Us. We can
do any of the f~llowing without notifying You or losing any right with respect lo Your
Account or agamst You:
           1. Accept any check or other order marked "Paid in Full" or with similar
               language as a payment under this Agreemenl;
           2. Give addilional time for paymenl of any amounl owing under this Agree-
               ment; or
           3. Exercise, give up, fail to exercise or delay exercising any right wilh respecl
               to Your Account or against any person.
For example, We can sue You to collect the Account's Outstanding Balance whether or
not We sue anyone else.
If property is or will be security for another debt You owe Us and under the term
that indebtedness the property would secure amounts You owe under this A e 5 of
We waive the right to treat the property as security for amounts You owe unfer ~¼n~
Agreement.
£IN
If applicable, You may be requested to change Your PIN from time to lime as inst
by the Bank. You agree that You will not disclose, and will prevent the disclosure 1'~d
PIN. If the confidentiality of the PIN is compromised, You shall notify Us immeili' ur
You assume sole responsibility for maintaining the PIN.                                 1
                                                                                    ate y.
Credit Information
You authorize Us to inve~tigate '.our ~red it ~landing w~e? o~ening, r~newing or review.
ing Your Account from lime to time, mcludmg by obtammg information from credit
bureaus and others. You authorize Us to disclose information regarding the Account t
credit bureaus and other creditors who inquire of Us about Your credit standing. We 0
also provide information to credit bureaus in the name of an Authorized User. may
Financial and Other Information
If You change the address of Your residence, Your mailing address or Your employer or
if there is any unfavorable change in Your financial condition, You must promptly notify
Us In writing of the change. Whenever We ask You to do so, You must submit to Us a
financial statement in a form satisfactory to Us.
Limitation on Interest and Finance CharKes
Interest and other finance charges will not be payable at a rate in excess of the maximum
rate allowed by applicable law. To the extent necessary to result in all finance charges not
being payable at a rate in excess of that maximum rate, any amount that would be treated
as part of those finance charges under a final interpretation of that law by a court will be
considered to be a mistake, will be considered to be automatically canceled and, if re-
ceived by Us, will be refunded to You, it being Your and Our intention that those finance
charges not be payable at a rate in excess of that maximum rate.
Returns and Adjustments
If Your credits and payments exceed what You owe Us, We will hold and apply this credit
balance against future Transactions, or ifit is $1.00 or more, refund it on Your written
request or automatically within six months.
Transfers
We may transfer or assign the Account and/or this Agreement, or any of Our rights
under this Agreement, to another person or·entity at any time without prior notice to You
or Your consent. If the assignee asks You, You must pay the assignee the amount You owe
on the Account.
Your rights under this Agreement cannot be transferred by You, by operation of law, or oth-
erwise, but Your obligations shall be binding upon Your estate or personal representatives.
IlleKal Transactions Prohibited
You must ensure that the Card is not used for any illegal transaction and agree not to
engage in any transactions that are illegal in the jurisdiction where You live and/or :v~ere
the transaction occurs. Internet gambling, for example, may be illegal in the jurisd1Ct10n
where You live. You nevertheless agree that You will be liable, according to the terms of
this Agreement, for all transactions, whether deemed legal or illegal. We have the nght,
but not the obligation, to decline any such Transaction.
Additional Transactions Prohibited
You must not obtain any Transaction to (I) make a payment under this Agreement or pay
any other indebtedness existing now or coming into existence in the future from You to
Us or any current or future M&T Bank affiliate or (2) buy, carry or trade in, or repay_any
indebtedness originally incurred to buy, carry or trade in, any margin stock or margm
security. Use of Your Account must be limited to personal, family, or household purposes.
GivinK U:V ofRiKhts
Except to the extent prohibited by applicable law, You give up any right to r~quire ~at We
(I) demand that You pay any amount owing under this Agreement, (2) notify You I any
amount owing under this Agreement is not paid by the date it becomes due ~r (3) tta!D
a certificate stating that any amount owing under this Agreement was not paid by e
date it became due.
Military Lending Act
Notwithstanding any other provision of this Agreement, if You are a "covered borrow:~•
under the Military Lending Act, as defined at 32 CFR § 232.3(g), nothing !n this At~~t
ment shall be construed as applying to You or Your Account to the extent mconsis
with the Military Lending Act.
 ~rnin,i:Law
This Agreement is entered into by Us, and made in accordance with, federal 1
to the extent not preempted by federal law, the law of the State of Delaware ~wand,
and your Account are located. Regardless of the stale of Your residence or lbw           ej \\
to which You submitted an application, or where Your Account is used exce Pace
provided otherwise in the Arbitration provision below, any legal question         cJ as .
Your Account, including, without limitation, provisions of the Agreement           ref~~lliin
finance charges, other charges and fees, will be decided in accordance with a a t,     Ug
federal law and, except where preempted by federal law, or as made applicabf.Pb cab!,
era! Jaw, applicable Delaware State law without regard to its conflict of law p    fed
                                                                               nnQples
                                                                                       r
Arbitration and Dispute Resolution
IT IS IMPORTANT THAT YOU READ THIS ENTIRE SECTION VERY CARE
LY. THIS SECTION PROVIDES FOR RESOLUTION OF DISPUTES INVOLV[t'{.1-
YOUR ACCOUNT THROUGH FINAL AND BINDING ARBITRATION BEFORE
ONE NEUTRAL ARBITRATOR INSTEAD OF IN A COURT BY AJUDGE OR JlJR·
OR THROUGH ACLASS ACTION.
YOUR RIGHT ~O REJ~CT. ARBITRATION. You may reject this arbitration provi-
sion (and any pnor arbitration agreement between You and Us that You have not h d
apriorchance to reject) as to Claims (as defined below) arising on or after Novemba
8,201 I, by mailing or emailing Us a rejection notice by 30 days after the date You er
open Your Account. The rejection notice must be signed and must provide Your
name(s), address(es) and Account number and state that You reject arbitration for
such Credit Card. The rejection notice must be sent to Us a~ M~ Ba~, Regulatory
Support, PO Box 1468, Buffalo, NY 14240-1468 (Attn: Arbitration Reiection). If You
do not reject this arbitration provision, the following terms will apply to Your Ac-
count. Regardless of whether You exercise Your right to reject arbitration as describec
above, any Claim arising prior to November 8, 201 I will continue to be subject to
arbitration under this provision or aprior arbitration agreement, as applicable.
Agreement to Binding Arbitration
Each dispute or ~ontroversy th_at ari~es out of or is related lo Your Account with Us, or any
semce We provide m connecllon with Your Account, or any matter relating lo your or
our rights and obligations provided for in this Agreement or any other agreement between
You and Us relating to Your Account or a service provided by Us in connection with Your
Account, whether based on statute, contract, tort, fraud, misrepresentation or any other
legal or equitable theory, including any claim for interest and attorney's fees, where appli•
cable (any "Claim"), must be determined on an individual basis (not as a class action) by
binding arbitration in accordance with the Federal Arbitration Act ("FAA" - Title 9of the
United States Code) under the auspices of the American Arbitration Association ("AA/\').
Judgment on an arbitration award may be entered in any court having jurisdiction. This
arbitration provision applies to all Claims regardless of whether such Claims seek mone-
tary, injunctive or declaratory relief or a combination of such types of relief. You and We
retain the right, however, to pursue a Claim in small claims court instead of arbitration,
provided that the Claim is in that court's jurisdiction and proceeds on an individual basis.
Any issue regarding the validity or enforceability of the arbitration obligations set forth in
this agreement, and any issue regarding whether a particular dispute or controversy is a
Claim that is subject to arbitration, shall be decided by the arbitrator.
Applicable Arbitration Rules
If the amount in controversy is less than $10,000, the Consumer Arbitration Rules of
the AAA will apply. Otherwise, the Commercial Arbitration Rules of the AAA will be
applicable (the Consumer and Commercial Arbjtration Rules are sometimes_heremafter
collectively referred to as the "Arbitration Rules ). Informallon about the arbitration
process, the Consumer or Commercia_l Arbitration Rules, the AM fees and the nearest
AAA Case Management Center 1s available from the AAA onlme at www.adr.org. Infor-
mation about AAA procedures, rules, fees and nearest offices will also be made available
to You by contacting the corporate headquarters of the AAA al 1-800-778-7879.
Representation
You may, but You do not have to, hire an attorney to represent You in any arbitration.
Number of Arbitrators and Qualifications
Only ONE arbitrator will be selected. The arbitrator will be selected by mutual agr~ement
between You and Us If You and We cannot agree on an arbitrator then the AAA will se-
lect the arbitrator ac~ording to its rules. Each arbitrator shall be a licensed attorner who
has engaged in the private practice oflaw continuously during the 10 years 1mmedmtdy
preceding the arbitration or a retired judge of a court of general or appellate JUnsd1Ct10n.
Language
The language of the arbitration shall be in English. Any party desiring or requiring a
different language shall bear the expense of an mterpreter.
  Location
  Arbitration hearings will take place in the federal judicial district that includes Your
  address at the time the Claim is filed, or another location in reasonable proximity to You
  address, ~nless the parties agree to a different location. You or We may choose to appea
  at the arb,trallon by telephone or other electronic means subject to the written consent
  of each party.
  Rules Governing Arbitration
  You and We acknowledge that this Agreement evidences a transaction involving inter-
  state commerce. The FAA shall govern the interpretation, enforcement and proceedings
  pursuant to the arbitration provisions in this section. All statutes of limitation, defenses,
  and attorney-client and other privileges that would apply in a court proceeding will appl
  in the arb1trat10n. In conducting the arbitration and making the award, the arbitrator
  shall be bound by and shall strictly enforce the terms of this Agreement and may not
  limit, expand or otherwise modify its terms.
  Tolling of Statute of Limitations
 The filing of a demand for arbitration in accordance with the Arbitration Rules will
 suspend any requirement to file a notice of claim or to commence an action until the
 conclusion of the arbitration process.
 Remedies Available
 The arbitrator will have no authority to award punitive or other damages not measured
 by the prevailing party's actual damages, except as may be required by statute. Subject to
 the foregoing limitation, the arbitration award shall provide only such relief as a court of
 competent jurisdiction could properly award under applicable law. The award shall be
 in writing, shall be signed by the arbitrator and shall include a statement regarding the
 reasons for the disposition of each and every Claim raised during the arbitration.
 Second Arbitration. The arbitrator's award shall be final and binding unless You or
 We submit a notice in writing to the AAA requesting a second arbitration before a new
 arbitrator (the second arbitrator) within - thirty (30) days of notice of the initial award.
 The second arbitrator will be selected in the same manner as the initial arbitrator under
 the provisions above. The second arbitrator will consider all factual and legal issues ane11
 and follow the same rules that apply to a proceeding using the initial arbitrator.
 Costs and Arbitration Fees
 If a Claim is arbitrated, We will pay or reimburse You for up to $1,000 in arbitration fees
 that would otherwise be charged to You by the arbitration administrator. In addition,
 You may tell Us in writing that You can't afford to pay the fees charged by the arbitration
 administrator or that You believe those fees are too high. If You do so, We will pay or
 reimburse You for up to all of the arbitration administrator fees that would otherwise be
 charged to You by the arbitration administrator if Your request is reasonable and made in
 good faith. We will always pay the arbitration fees if applicable law requires Us to. We w1U
 not ask You to pay or reimburse Us for any arbitration fees We pay the administrator.
 We will pay Our own attorney fees, expert fees and/or witness fees associated with any
 arbitration, regardless of the outcome. If You commence an arbitration proceeding and
 prevail on Your Claim, We will pay Your reasonable attorney fees up to $5,000, unless
 applicable law allows You the right to recover additional attorney fees. We will not pay
 expert fees and/or witness fees.
 No Consolidation of Actions or Class Actions
There will be no class Claim (i.e., Claims by or on behalf of other persons will not be
considered in or consolidated with the arbitration proceedings between You and Us). The
arbitrator may not consolidate Your Claims with any other person's claims (ex~ept for.
persons who are Joint Account holders on Your Account) and may not otherwise preside
over any form of a representative or class proceeding.
Other Actions Available; No Waiver of Right to Arbitrate
The arbitration provisions contained in this section do not limit Your or_ Our right, .
whether before, during or after the pendency of any arb1trall0n proceeding, lo exercise
self-help remedies such as the right of set-off or to obtain provisional or ancill~ r~me-
dies or injunctive or other traditionally eqmtable relief (oth~r than a stay ~f arb1trat1on)
necessary to protect the rights or property ?f the party_ seeking relief pend~g the arbitra-
tor's determination of the merits of the Claim. The taking of any of the acllons descnbed
in the preceding sentence by either party or the filing of a co~rt action by a_ party sha(I
not be deemed to be a waiver of the right to demand arb1trat10n of any Claim, mcludmg
Claims that are asserted as a counterclaim or the like in response to any such acllon.
Military Lending Act
If You are a Covered Borrower under the Military Lending Act, You are not required to
submit to arbitration.
Survivability
The foregoing "Arbitration and Dispute Resolution" provisions, in which You and We
have agreed to arbitrate disputes, will survive the termination of Your Account with Us,
whether evidenced by this agreement or otherwise.
YOU ACKNOWLEDGE THAT YOU HAVE CAREFULLY READ THE FOREGO-
ING DISPUTE RESOLUTION PROVISIONS IN WHICH YOU AND WE HAVE
AGREED TO ARBITRATE DISPUTES. YOU UNDERSTAND THAT THESE PRO-
VISIONS LIMIT OR WAIVE CERTAIN OF YOUR RIGHTS WITH RESPECT TO
CLAIMS THAT YOU ARE AGREEING TO ARBITRATE PURSUANT TO THESE
PROVISIONS. YOU UNDERSTAND THAT THERE WILL BE NO CLASS CLAIMS
IN ARBITRATION. YOU FURTHER UNDERSTAND THAT DISCOVERY - THE
ABILITY TO OBTAIN INFORMATION FROM THE OTHER PARTY - MAY BE
MORE LIMITED IN ARBITRATION THAN IN A COURT PROCEEDING, AND
THE RIGHT AND GROUNDS OF APPEAL FROM AN ARBITRATOR'S AWARD .
ARE MORE LIMITED THAN IN AN APPEAL FROM A COURT JUDGMENT. IN
ADDITION, YOU UNDERSTAND THAT CERTAIN OTHER RIGHTS YOU HAVE
IN A COURT PROCEEDING ALSO MAY NOT BE AVAILABLE IN ARBITRATION.
Legal Proceedings
Regardless of whether You accept or reject arbitration in accordance with this Agreement:
Before You commence any legal proceeding (including any arbitration proceeding)
relating to a Claim, You must first contact Us about the Claim and give Us an opportunity
to resolve iL Similarly, before We commence a legal proceeding (including any arbitration
proceeding) relating to a Claim, We must attempt to resolve it with You. If any such Claim
cannot be resolved within 60 days from the date You or We are notified about it, the Claim
may proceed to arbitration or other legal proceeding in accordance with this agreement.
In no event will We be liable for any special, incidental, consequential or punitive losses
or damages of any kind relating in any manner to a Claim whether such Claim is ad-
dressed in any legal proceeding or in court or in arbitration, except to the extent that this
limitation of damages is prohibited by law.
There will be no class Claim in arbitration (see section entitled "No Consolidation of
Actions or Class Actions" above) or in any other legal proceeding (i.e., claims by or on
behalf of other persons will not be considered in or consolidated with the arbitration or
other legal proceedings between You and Us). This section will prevail unless prohibited
by applicable law.
Transactions on Accounts with Pending Disputes
We will not be liable if, because of any dispute or legal proceeding of any kind between
You and any third party, including an Authorized User or Joint Account holder, We do
not allow Transactions on Your Account. Also, We will not be liable if, despite any such
dispute or legal proceeding, We allow Transactions on Your Account.
Evidence
In any legal proceeding (including any arbitration proceeding between You and Us)
involving Your Account or any governing document for Your A~coun!, any copy o_fIha~
governing document kept by Us 10 the regular course of our busrness 1s to be admitted m
evidence as an original of that governing document.
Continued Effectiveness
If any part of any governing document for Your Account is determined by a court to be
invalid, the rest of that governing document and the other governing documents for Your
Account will remain in effect, except for the Arbitration Provision's prohibition against
class actions. If the prohibition against class actions is held to be invalid, then the Arbi-
tration Provision will be deemed to be inapplicable to any class or representative claim.

Notice of Your Billing Rights: Keep this Document for Future Use
This notice tells You about Your rights and our responsibilities under the Fair Credit
Billing Act.
What To Do If You Find A Mistake On Your Statement
If You think there is an error on Your statement, write Us at:
M&T Bank
P.O. Box 8405
Wilmington, DE 19899-8405
In Your letter, give Us the following information:
            , Account Information: Your name and Account number.
            , Dollar Amount: The dollar amount of the suspected error.
           , Description ofproblem: If You think there is an error on_ Your bill, describe
                what You befieve is wrong and why You believe 11 1s a mistake.
You must contact Us:
           • Within 60 days after the error appeared on Your statement.
               At least 3 business days before an automated payment is scheduled, if You
               want to stop payment on the amount You think is wrong.
You must notify Us of any potential errors in writing. You may call Us, but if You do We
~re not required to investigate any potential errors and You may have to pay the amount
m question.
What Will Happen After We Receive Your Letter
When We receive Your letter, We must do two things:
           1. Within 30 days of receiving Your letter, We must tell You that We received
               Your letter. We will also tell You if We have already corrected the error.
           2. Within 90 days of receiving Your letter, We must either correct the error or
               explain why We believe the bill was correct. While We investigate whether
               or not there has been error:
               o We cannot try to collect the amount in question, or report You as
                   delinquent on that amount.
               o The charge in question may remain on Your statement, and We may
                   continue to charge You interest on that amount.
               o While You do not have to pay the amount in question, You are respon-
                   sible for the remainder of Your balance.
               o We can apply any unpaid amount against Your credit limit.
After We finish our investigation, one of two things will happen:
           • If We made a mistake: You will not have to pay the amount in question or
               any interest or other fees related to that amount.
           • If We do not believe there was a mistake: You will have to pay the amount
               in question, along with applicable interest and fees. We will send You a
               statement of the amount You owe and the date payment is due. We may then
               report You as delinque~t if You do not pay the amount We think You owe.
If You receive our explanation but still believe Your bill is wrong, You must write to Us
within 10 days telling Us that You still refuse to pay. If You do so; We cannot report You
as delinquent without also reporting that You are questioning Your bill. We must tell
You the name of anyone to whom We reported You as delinquent, and We must let those
organizations know when the _matter has been settled between Us.
If We do not follow all of the rules above, You do not have to pay the first $50 of the
amount You question even if Your bill is correct.
Your Rights if You Are Dissatisfied With Your Credit Card Purchases
, If You are dissatisfied with the goods or services that You have purchased with Your credit
  card, and You have tried in good faith to correct the problem with the merchant, You may
  have the right not to pay the remaining amount due on the purchase.
  To use this right, all of the following must be true:
               1. The purchase must have been made in Your home State or within 100 miles
                   of Your current mailing address, and the purchase price must have been
                    more than $50. (Note: Neither of these are necessary if Your purchase was
                   based on an advertisement We mailed to You, or if We own the company
                    that sold You the goods or services.)
               2. You must have used Your credit card for the purchase. Purchases made
                   with cash advances from an ATM or with a check that accesses Your credit
                    card Account do not qualify.
               3. You must not yet have fully paid for the purchase.
  If all of the criteria above are met and You are still dissatisfied with the purchase, contact
  Us in writing at:
  M&T Bank
  P.O. Box 8405
  Wilmington, DE 19899-8405
  While We investigate, the same rules apply to the disputed amount as discussed above.
  After We finish our investigation, We will tell You our decision. At that point, if We think
  You owe an amount and You do not pay, We may report You as delinquent.

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  www.nrtb.com
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